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                                                               United States Bankruptcy Court
                                                                      Southern District of Iowa
 In re      Lynette M Pashia                                                                                  Case No.   17-02207
                                                                                 Debtor(s)                    Chapter    13



                                                                      CHAPTER 13 PLAN
1.    Payments to the Trustee: The future earnings or other future income of the Debtor is submitted to the supervision and control of
      the trustee. The Debtor (or the Debtor's employer) shall pay to the trustee the sum of $868.00 per month for 60 months.

      Total of plan payments: $52,080.00

2.    Plan Length: This plan is estimated to be for 60 months.

3.    Allowed claims against the Debtor shall be paid in accordance with the provisions of the Bankruptcy Code and this Plan.

      a.    Secured creditors shall retain their mortgage, lien or security interest in collateral until the earlier of (a) the payment of the
            underlying debt determined under nonbankruptcy law, or (b) discharge under 11 U.S.C. § 1328.

      b.    Creditors who have co-signers, co-makers, or guarantors ("Co-Obligors") from whom they are enjoined from collection
            under 11 U.S.C. § 1301, and which are separately classified and shall file their claims, including all of the contractual interest
            which is due or will become due during the consummation of the Plan, and payment of the amount specified in the proof of
            claim to the creditor shall constitute full payment of the debt as to the Debtor and any Co-Obligor.

      c.    All priority creditors under 11 U.S.C. § 507 shall be paid in full in deferred cash payments.


4.    From the payments received under the plan, the trustee shall make disbursements as follows:

      a.    Administrative Expenses
            (1) Trustee's Fee: 10.00%
            (2) Attorney's Fee (unpaid portion): $1,500.00 to be paid through plan in monthly payments
            (3) Filing Fee (unpaid portion): NONE

      b.    Priority Claims under 11 U.S.C. § 507

            (1) Domestic Support Obligations

                  (a) Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim.

                  (b) The name(s) and address(es) of the holder of any domestic support obligation are as follows. See 11 U.S.C. §§
                  101(14A) and 1302(b)(6).

                     -NONE-

                  (c) Anticipated Domestic Support Obligation Arrearage Claims. Unless otherwise specified in this Plan, priority claims
                  under 11 U.S.C. § 507(a)(1) will be paid in full pursuant to 11 U.S.C. § 1322(a)(2). These claims will be paid at the same
                  time as claims secured by personal property, arrearage claims secured by real property, and arrearage claims for assumed
                  leases or executory contracts.

                          Creditor (Name and Address)                             Estimated arrearage claim         Projected monthly arrearage payment
                          -NONE-

                  (d) Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support obligation claims are assigned to, owed
                  to, or recoverable by a governmental unit.

                          Claimant and proposed treatment:              -NONE-

            (2) Other Priority Claims.

                          Name                                                                      Amount of Claim        Interest Rate (If specified)
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                          Name                                                                            Amount of Claim          Interest Rate (If specified)
                          -NONE-

      c.    Secured Claims

            (1) Pre-Confirmation Adequate Protection Payments. Pre-confirmation adequate protection payments to the following
            Creditors holding allowed claims secured by a purchase money security interest in personal property shall be paid by the
            Trustee through the plan as provided below. Adequate protection payments shall not accrue or be paid until the Creditor files
            a proof of claim. The principal amount of the Creditor's claim shall be reduced by the amount of the adequate protection
            payments remitted.

                Name                                                     Description of Collateral                          Pre-Confirmation Monthly Payment
                -NONE-

            (2) Secured Debts Which Will Not Extend Beyond the Length of the Plan

                  (a) Secured Claims Subject to Valuation Under § 506. The Debtor moves the Court to value collateral as follows
                  according to 11 U.S.C. § 506(a). Each of the following secured claims, if allowed, shall be paid through the plan in
                  equal monthly payments set forth below, until the secured value or the amount of the claim, whichever is less, has been
                  paid in full. Any remaining portion of the allowed claim shall be treated as a general unsecured claim. Any claim with a
                  secured value of $0 shall be treated as a general unsecured claim.

                                                                         Proposed Amount of
                Name                                                     Allowed Secured Claim                   Monthly Payment     Interest Rate (If specified)
                -NONE-

                  (b) Secured Claims Not Subject to Valuation Under § 506. Each of the following claims, if allowed, shall be paid
                  through the plan in equal monthly payments set forth below, until the amount of the claim as set forth in the Creditor's
                  proof of claim has been paid in full.

                                                                         Proposed Amount of
                Name                                                     Allowed Secured Claim                   Monthly Payment     Interest Rate (If specified)
                -NONE-

            (3) Secured Debts Which Will Extend Beyond the Length of the Plan

                Name                                                         Amount of Claim                    Monthly Payment      Interest Rate (If specified)
                -NONE-

      d.    Unsecured Claims
            (1) Special Nonpriority Unsecured: Debts which are co-signed or are non-dischargeable shall be paid in full (100%).

                          Name                                                                          Amount of Claim            Interest Rate (If specified)
                          -NONE-

            (2) General Nonpriority Unsecured: Other unsecured debts shall be paid 100 cents on the dollar and paid pro rata, with no
                interest if the creditor has no Co-obligors, provided that where the amount or balance of any unsecured claim is less than
                $10.00 it may be paid in full.


5.    The Debtor proposes to cure defaults to the following creditors by means of monthly payments by the trustee:

                        Creditor                                                                     Amount of Default to be Cured Interest Rate (If specified)
                        Shellpoint Mortgage Servicing                                                           12,000.00                       0.00%

6.    The Debtor shall make regular payments directly to the following creditors:

                Name                                                        Amount of Claim                  Monthly Payment         Interest Rate (If specified)
                Shellpoint Mortgage Servicing                                 238,995.00                              0.00                        0.00%

7.    The employer on whom the Court will be requested to order payment withheld from earnings is:
      NONE. Payments to be made directly by debtor without wage deduction.


8.    The following executory contracts of the debtor are rejected:
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                Other Party                                                        Description of Contract or Lease
                -NONE-

9.    Property to Be Surrendered to Secured Creditor

                Name                                                        Amount of Claim         Description of Property
                -NONE-

10. The following liens shall be avoided pursuant to 11 U.S.C. § 522(f), or other applicable sections of the Bankruptcy Code:

                Name                                                        Amount of Claim         Description of Property
                -NONE-

11. Title to the Debtor's property shall revest in debtor on confirmation of a plan.

12. As used herein, the term "Debtor" shall include both debtors in a joint case.

13. Other Provisions:
            a. Debtor shall turn over to the Chapter 13 Trustee any and all tax refunds realized during the term of the Chapter 13
            Plan.

            b. The unpaid portion of attorney fees is merely an estimate. Attorney shall file an application for compensation and
            itemization of fees to the bankruptcy court for approval.

            c. The amounts listed for the secured debts are merely an estimate.

            d. The Chapter 13 Trustee shall pay all proof of claims filed pursuant to 11 U.S.C. § 1305.

 Date November 17, 2017                                                Signature   /s/ Lynette M Pashia
                                                                                   Lynette M Pashia
                                                                                   Debtor




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                                                               United States Bankruptcy Court
                                                                        Southern District of Iowa
 In re      Lynette M Pashia                                                                           Case No.
                                                                                   Debtor(s)           Chapter    13



                                                                     CERTIFICATE OF SERVICE
I hereby certify that on November 17, 2017, a copy of Chapter 13 Plan was served electronically or by regular
United States mail to all interested parties, the Trustee and all creditors listed below.

 Seventh Avenue
 Shellpoint Mortgage Servicing
 Us Dept Ed
 Us Dept Ed
 Us Dept Ed
 Us Dept Ed



                                                                                /s/ Samuel Z. Marks
                                                                                Samuel Z. Marks
                                                                                Marks Law Firm, P.C.
                                                                                4225 University Ave.
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